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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS


GARFIELD J. GREEN,

                        Plaintiff,

vs.                                             Case No. 22-3039-SAC

JO SCHRAFER, et al.,

                        Defendants.

                                  O R D E R

      Plaintiff, pro se, has filed this action alleging violations

of his constitutional rights in relation to his incarceration at

the Chase County Detention Center (CCDC)). Plaintiff has presented

his complaint on forms for an action pursuant to 42 U.S.C. § 1983.1

This case is before the court for the purposes of screening

pursuant to 28 U.S.C. §§ 1915 and 1915A.

I. Screening standards

      Section 1915A requires the court to review cases filed by

prisoners seeking redress from a governmental entity or employee

to determine whether the complaint is frivolous, malicious or fails

to state a claim upon which relief may be granted.                   A court

liberally construes a pro se complaint and applies “less stringent

standards than formal pleadings drafted by lawyers.”             Erickson v.


1 Title 42 United States Code Section 1983 provides a cause of action against
“[e]very person who, under color of any statute, ordinance, regulation, custom,
or usage of any State . . . causes to be subjected, any citizen of the United
States . . . to the deprivation of by rights, privileges, or immunities secured
by the Constitution and laws [of the United States].”

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Pardus, 551 U.S. 89, 94 (2007).             A pro se litigant, however, is

not relieved from following the same rules of procedure as any

other litigant. See Green v. Dorrell, 969 F.2d 915, 917 (10th Cir.

1992).     Conclusory     allegations    without    supporting     facts    “are

insufficient to state a claim upon which relief can be based.”

Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991).                The court

“will not supply additional factual allegations to round out a

plaintiff’s complaint or construct a legal theory on plaintiff’s

behalf.”      Whitney v. New Mexico, 113 F.3d 1170, 1173-74 (10th Cir.

1997).

        When deciding whether plaintiff’s complaint “fails to state

a claim upon which relief may be granted,” the court must determine

whether      the   complaint    contains     “sufficient    factual       matter,

accepted as true, to ‘state a claim for relief that is plausible

on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)(quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).                The court

accepts the plaintiff’s well-pled factual allegations as true and

views them in the light most favorable to the plaintiff.2                  United

States v. Smith, 561 F.3d 1090, 1098 (10th Cir. 2009).              The court,

however, is not required to accept legal conclusions alleged in

the complaint as true. Iqbal, 556 U.S. at 678. “Thus, mere ‘labels

and conclusions' and ‘a formulaic recitation of the elements of a




2   The court may also consider the exhibits attached to the complaint.

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cause of action’ will not suffice” to state a claim.           Khalik v.

United Air Lines, 671 F.3d 1188, 1191 (10th Cir. 2012) (quoting

Twombly, 550 U.S. at 555).

     “The elements necessary to establish a § 1983 ... violation

will vary with the constitutional provision at issue.” Pahls v.

Thomas, 718 F.3d 1210, 1225 (10th Cir. 2013) (quotation omitted).

Liability also depends upon on an individual defendant's personal

involvement in the constitutional violation.            Id.    The Tenth

Circuit has given the following guidance for alleging a viable §

1983 claim:

     Because § 1983 ... [is a] vehicle[ ] for imposing
     personal liability on government officials, we have
     stressed the need for careful attention to particulars,
     especially in lawsuits involving multiple defendants. It
     is particularly important that plaintiffs make clear
     exactly who is alleged to have done what to whom, ... as
     distinguished from collective allegations. When various
     officials have taken different actions with respect to
     a plaintiff, the plaintiff's facile, passive-voice
     showing that his rights “were violated” will not
     suffice. Likewise insufficient is a plaintiff's more
     active-voice yet undifferentiated contention that
     “defendants” infringed his rights.

Id. at 1225–26 (citation, quotation, and alteration omitted).

II. The complaint

     Plaintiff names the following defendants in the complaint:

Larry Sigler, Jail Administrator; Richard Dorneker, Sheriff of

Chase County; Jo Schrafer, Jail Supervisor; and Immigration and

Customs Enforcement (ICE).



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     Generally, plaintiff alleges retaliation, poor and infrequent

medical care, little access to a law library, a slippery floor

caused by a failure to fix a shower, a vague threat to plaintiff’s

food, retaliation after plaintiff refused to eat jail food, and

supplying food that led plaintiff to throw up and use the bathroom

every five minutes.

     The complaint asks for the following relief:        an internal and

external investigation; reconsideration of plaintiff’s citizenship

status; and immediate transfer to another facility, perhaps closer

to plaintiff’s family in New York.

III. Screening

     A. Citizenship status

     Plaintiff’s complaint seeks reconsideration of plaintiff’s

citizenship   status.     The   complaint,   however,    does    not   list

statutory authority which supports the court’s jurisdiction or

legal ability to order such relief.      Moreover, the complaint does

not allege any plausible grounds for granting reconsideration of

plaintiff’s citizenship status or grounds to find that a named

defendant is legally capable of executing such relief.          Therefore,

the complaint fails to state a claim for reconsideration of

plaintiff’s citizenship status.

     B. Immediate transfer

     The complaint seeks an order directing that plaintiff be

transferred to another detention facility.        In general, however,

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a    prisoner    has       no    constitutional            right    to   be    housed    in     any

particular facility or to be transferred from one prison facility

to    another,    even          if   life   in       one    prison       may    be    much    more

disagreeable than in another.                Olim v. Wakinekona, 461 U.S. 238,

245-50 (1983); Moody v. Daggett, 429 U.S. 78, 88 n.9 (1976);

Meachum v. Fano, 427 U.S. 215, 224-25 (1976).                             Plaintiff has not

alleged grounds which justify diverging from the general rule.

       C. Investigation

        The complaint seeks an internal and external investigation.

This court has held many times that it lacks the authority to order

a criminal investigation or prosecution.                           E.g., Hewitt v. Wright,

2021 WL 4439297 *2 (D.Kan. 9/28/2021)(citing Presley v. Presley,

102 Fed.Appx. 636, 636-37 (10th Cir. 2004)).                              As for ordering a

civil       investigation,           the    complaint          fails       to        describe    a

constitutional or statutory violation which would justify such

relief.      Moreover, the relief requested is not narrowly drawn and

therefore is barred under the provisions of 18 U.S.C. § 3626(a)(1).

Nor does this case appear sufficiently complex at this time to

warrant the appointment of a special master under 18 U.S.C. §

3626(f), Fed.R.Evid. 706, or Fed.R.Civ.P. 53.

       D. Personal participation

       To    state     a    constitutional            claim        against      an    individual

defendant there must be plausible allegations of that defendant’s

personal involvement in the alleged constitutional violation.

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Schneider v. City of Grand Junction Police Dept., 717 F.3d 760,

768 (10th Cir. 2013).     To meet the personal-involvement requirement

for a supervisor, a plaintiff must show an “affirmative link”

between the supervisor and the alleged constitutional violation.

Perry v. Durborow, 892 F.3d 1116, 1121 (10th Cir. 2018)(quoting

Schneider, 717 F.3d at 767).

       Plaintiff does not allege facts showing an affirmative link

between any of the three individual defendants and injuries caused

by inadequate medical care, dangerous conditions, retaliation, or

denial of access to a law library. Plaintiff alludes to complaints

that he made to defendant Sigler and defendant Schrafer.                     A

plaintiff, however, may not seek to impose liability upon a

defendant merely because of that person’s supervisory position and

knowledge of a subordinate’s conduct.3         See Schneider, 717 F.3d at

767.    The Tenth Circuit has held that communicating grievances to

a supervisor, such as a jail commander, is not enough to attach

liability    when   the   response    signifies     nothing    more   than   a

reasonable reliance on the judgment of prison staff.            Gallagher v.

Shelton, 587 F.3d 1063, 1069 (10th Cir. 2009); Phillips v. Tiona,

508 Fed.Appx. 737, 744 (10th Cir. 2013); Arocho v. Nafziger, 367

Fed.Appx. 942, 956 (10th Cir. 2010); see also, Jovel v. Berkebile,

2015 WL 4538074 *4 (D.Colo. 7/28/2015); Karsten v. Davis, 2013 WL


3 The portions of the complaint which describe defendant Sigler’s conduct, such
as cleaning after a sprinkler malfunction and providing food which made
plaintiff sick, do not describe a constitutional violation.

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2120635 *11-12 (D.Colo. 4/26/2013).              Nor, as mentioned earlier in

this order, is personal involvement adequately described with

allegations      that    “defendants”      or    “they”   violated   plaintiff’s

rights.

        E. Access to the courts

        “To state a claim for denial of [access to the courts],”

plaintiff “must show that any denial or delay of access to the

court    prejudiced      him     in   pursuing    litigation.”       Trujillo   v.

Williams, 465 F.3d 1210, 1226 (10th Cir. 2006)(interior quotation

omitted).       This must be addressed in the complaint’s allegations

in a manner that gives fair notice to a defendant.               Christopher v.

Harbury, 536 U.S. 403, 416 (2002); McBride v. Deer, 240 F.3d 1287,

1290    (10th   Cir.    2001).        Plaintiff’s    complaint   fails   to   give

defendants fair notice of how their actions caused plaintiff

prejudice in pursing litigation.

        F. Deliberate indifference

        To state an Eighth Amendment claim, a complaint must allege

that     defendants     acted     with    deliberate      indifference   that    a

constitutional violation would occur.               Tafoya v. Salazar, 516 F.3d

912, 916 (10th Cir. 2008).               To be deliberately indifferent, an

official must be “aware of facts from which the inference could be

drawn that a substantial risk of serious harm exists, and he must

also draw the inference.”             Farmer v. Brennan, 511 U.S. 825, 837

(1994).     The complaint fails to allege facts showing that the

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individual        defendants        were   deliberately      indifferent        to    a

substantial risk of serious harm.

       As   for   an   agency       defendant,    the   deliberate    indifference

standard may be met when the agency has actual or constructive

notice that its action or failure to act is substantially certain

to result in a constitutional violation, and it consciously or

deliberately chooses to disregard the risk of harm.                   See Waller v.

City & County of Denver, 932 F.3d 1277, 1284 (10th Cir. 2019).

Plaintiff has not alleged facts plausibly showing that ICE had

such actual or constructive notice.

       G. Retaliation

       To state a First Amendment retaliation claim, plaintiff must

allege: 1) he engaged in constitutionally protected activity; 2)

the defendant’s actions caused him to suffer an injury that would

chill a person of ordinary firmness from continuing to engage in

that    activity;      and     3)    the   defendant’s      adverse    action        was

substantially motivated as a response to his constitutionally

protected activity.           Gray v. Geo Group, Inc., 727 Fed.Appx. 940,

946 (10th Cir. 2018)(citing           Mocek v. City of Albuquerque, 813 F.3d

912,   930   (10th     Cir.    2015)).         Here,    plaintiff’s   general        and

subjective        conclusions        regarding     defendants’        motives        are

insufficient to state a plausible claim for retaliation.




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     H. Negligence

     Finally, to the degree that the facts alleged in the complaint

merely amount to negligence, that is insufficient to state a claim

under § 1983 or the Eighth Amendment. See Kingsley v. Hendrickson,

576 U.S. 389, 395-96 (2015); Darr v. Town of Telluride, Colo., 495

F.3d 1243, 1257 (10th Cir. 2007); Mata v. Saiz, 427 F.3d 745, 751-

52 (10th Cir. 2005); Perkins v. Kan. Dep't of Corrections, 165 F.3d

803, 811 (10th Cir. 1999); see also, J.W. v. Utah, 647 F.3d 1006,

1012 (10th Cir. 2011)(negligent supervision in general does not

suffice to state a § 1983 claim).      Plaintiff’s alleges negligence

which led him to fall from a wheelchair and makes other allegations

which could be categorized as negligence.

IV. Conclusion

     As explained above, for a variety of reasons, plaintiff’s

complaint is subject to dismissal. The court shall grant plaintiff

time until May 16, 2022 to show cause why this case should not be

dismissed or to file an amended complaint which corrects the

deficiencies found in the original complaint. An amended complaint

should be printed on forms supplied by the Clerk of the Court which

may be supplemented.    Failure to respond to this order may result

in the dismissal of this case.




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IT IS SO ORDERED.

Dated this 15th day of April 2022, at Topeka, Kansas.

                s/Sam A. Crow__________________________
                U.S. District Senior Judge




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